UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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-                                                                        :
                                                                         :
KYLE HENDRICKS,                                                          :
                                                                         :    11 Civ. 1206 (PAE)
                                             Plaintiff,                  :
                                                                         :   OPINION AND ORDER
                           -v-                                           :
                                                                         :
N.Y.C. DEPARTMENT OF CORRECTIONS, SICK                                   :
CALL, and DOCTOR CALVO,                                                  :
                                                                         :
                                             Defendants.                 :
                                                                         X
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PAUL A. ENGELMAYER, District Judge:


        Pro se plaintiff Kyle Hendricks filed an amended complaint in this action on May 2,

2011. Plaintiff failed to serve a copy of the summons and amended complaint upon any

defendants within 120 days of filing his amended complaint, as mandated by Federal Rule of

Civil Procedure 4(m). Subsequent mailed communications to plaintiff were returned to sender,

and plaintiff failed to supply the Court with a forwarding address. On May 26, 2011, Judge

George B. Daniels, to whom this case was originally assigned, referred the case to Magistrate

Judge Kevin Nathaniel Fox for general pretrial matters and for the resolution of dispositive

motions. On October 28, 2011, Judge Fox issued a Report and Recommendation to this Court,

recommending that the case be dismissed for failure to prosecute, or to comply with a court

order, pursuant to Fed. R. Civ. P. 41(b). No timely written objections were filed.
                                            DISCUSSION

        In reviewing a Report and Recommendation, a district court "may accept, reject, or

modifY, in whole or in part, the findings or recommendations made by the magistrate judge." 28

U.S.C. § 636(b)(l)(C). When specific objections are made, "[t]he district judge must determine

de novo any part of the magistrate judge's disposition that has been properly objected to." Fed.

R. Civ. P. 72(b)(3). To accept those portions of the report to which no timely objection has been

made, "a district court need only satisfy itself that there is no clear error on the face of the

record." King v. Greiner, No. 02 Civ. 5810 (DLC), 2009 WL 2001439, at *4 (S.D.N.Y. July 8,

2009) (citation omitted).


                                           CONCLUSION

        Careful review of the Report reveals that there is no clear error in its conclusions. The

Report, which is attached hereto and incorporated herein, is adopted without modification. This

case is hereby DISMISSED without prejudice.




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                SO ORDERED.
                                                                 P~A.
                                                                Paul A. Engelmayer
                                                                United States District Judge


Dated: November 21,2011
       New York, New York
